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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                     )
                                             )
   v.                                        )       USDC No. 23-mj-33 (RMM)
                                             )
Brian McGee, defendant                       )

                             NOTICE OF APPEARANCE
                                    (Defendant)

        THE CLERK WILL PLEASE NOTE the appearance of Nathan I. Silver, II, appointed by

this Court under the Criminal Justice Act as attorney of record for the defendant nunc pro tunc to

February 21, 2023.

                                     This pleading is,

                                    Respectfully submitted,

                                             /s/

                                      NATHAN I. SILVER, II
                                       Unified Bar #944314
                                        6300 Orchid Drive
                                       Bethesda, MD 20817
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                                    email: nisquire@aol.com

                                  CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that a copy of the foregoing pleading has been served via ECF
Katherine Fifield,, Esq., U.S. Dept. of Justice (CRM), 1301 New York Ave., N.W., Washington,
D.C. 20530, this 28th day of February, 2023.

                                               /s/
                                     _______________________________
                                     Nathan I. Silver, II
